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    1   James W. Hunt-SBN 122582
        james.hunt@fitzhunt.com
    2   Christopher S. Hickey - SBN 198938
    3   christopher.hickey@fitzhunt.com
        FITZPATRICK & HUNT,
    4   PAGANO, AUBERT, LLP
        633 West Fifth Street, 60 th Floor
    5   Los Angeles, CA 90071
    6   Tel.: (213) 873-2100 I Fax: (213) 873-2125
    7   Attorneys for Defendants
        SIKORSKY AIRCRAFT CORPORATION
    8   AND UNITED TECHNOLOGIES CORPORATION
    9
                             UNITED STATES DISTRICT COURT
   10
                          SOUTHERN DISTRICT OF CALIFORNIA
   11
   12   D:F., a minor, by and through his            Case No. 13-cv-00331-GPC-KSC
   13   Guardian Ad Litem, TASHINA
        AMADOR, individually and as successor        Judge: Hon. Gonzalo P. Curiel
   14   in interest to Alexis Fontalvo, deceased,
   15   and T.L., a minor, by and through her       SIKORSKY'S MEMORANDUM OF
        Guardian Ad Litem, TASHINA                  POINTS AND AUTHORITIES IN
   16   AMADOR,                                     SUPPORT OF REQUEST THAT
   17                                               CERTAIN FACTS BE DEEMED
                           Plaintiffs,              ESTABLISHED PURSUANT TO
   18   vs.                                         RULE 56(g)
   19
        SIKORSKY AIRCRAFT
  20    CORPORATION, et al.,
  21
                          Defendants.
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    1          TO THE COURT AND ALL COUNSEL OF RECORD:
    2          Pursuant to this Court's ruling at the April 27, 2018 pre-trial hearing,
    3   Defendants Sikorsky Aircraft Corporation and United Technologies Corporation
    4   ("Sikorsky") hereby submit this memorandum of points and authorities in support
    5   of their position that this Court has entered a Rule 56(g) Order, and that certain
    6   facts must be deemed established for trial as a result.
    7                MEMORANDUM OF POINTS AND AUTHORITIES
    8   I.    LEGAL STANDARD
    9         Under Rule 56(g), "[i]fthe court does not grant all the relief requested by the
   10   motion [for summary judgment], it may enter an order stating any material fact
   11   ... that is not genuinely in dispute and treating the fact as established in the case."
   12   Fed. R. Civ. P. 56(g) ( emphasis added). "The partial summary judgment is merely
   13   a determination before the trial that certain issues shall be deemed established in
   14   advance of the trial." Lies v. Farrell Lines, Inc., 641 F.2d 765, 769 n.3 (9th Cir.
   15   1981 ). This rule "was intended to avoid a useless trial of facts and issues over
   16   which there was never really any controversy and which would tend to confuse and
   17   complicate a lawsuit." Id.; see also Lahoti v. VeriCheck, Inc., 586 F.3d 1190, 1202
   18   (9th Cir. 2009); Nat'! Union Fire Ins. Co. of Pittsburgh, PA v. Ready Pac Foods,
   19   Inc., 782 F.Supp.2d 1047, 1051-52 (C.D. Cal. 2011). "Inasmuch as it narrows the
  20    scope of the trial, a Rule 56(g) order may be compared to a pretrial order under
  21    Rule 16." Wright, lOB Fed. Prac. & Proc. Civ. § 2737; see also Travelers Indem.
  22    Co. v. Erickson's, Inc., 396 F.2d 134, 136 (5th Cir. 1968) (stating that "an order of
  23    the type described in Rule 56(d) [now codified at Rule 56(g)], specifying facts
  24    established without controversy, [is] analogous to a pre-trial order under Rule 16.").
  25    Ill
  26    Ill
  27    Ill
  28    Ill


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    1   II.   ARGUMENT
    2         A.     This Court's Partial Summary Judgment Order should be
    3                Considered a Rule 56(g) Order.
    4         On October 30, 2017, this Court entered partial summary judgment in favor
    5   of Sikorsky on Plaintiffs' failure to warn claim, and entered an Order stating that
    6   "there is no genuine dispute" regarding the following material facts: (1) "Fontalvo
    7   had been instructed not to pull on a landing gear safety pin if it resists," and (2)
    8   "Fontalvo actually knew that it was dangerous to pull a resisting pin." (ECF No.
    9   216 at p. 46.) In so ruling, the Court considered Plaintiffs' evidence of manual
   10   instructions and testimony of other Marines regarding their own training, and
   11   ultimately determined that this evidence did not "refute[] the assertion that Fontalvo
   12   actually knew that he should never pull out a resisting safety pin because Wilcox
   13   told him so," and that he knew it was dangerous to do so. (ECF No. 216 at p. 46.)
   14         This partial summary judgment order finding "no genuine dispute" as the
   15   above material facts, is precisely the type of order that is described in Rule 56(g).
   16   Having entered this Order, the Court should now treat those facts as established in
   17   the case.   Indeed, treating these facts as established for trial and "avoid[ing] a
   18   useless trial of facts and issues over which there was never really any controversy,"
   19   is precisely the purpose and intent of a partial summary judgment order such as the
  20    one entered by this Court. See Lies, 641 F.2d at 769 n.3. Just as a Rule 16 order
  21    "controls the subsequent course of action," so should this Court's partial summary
  22    judgment order. See Brook Village North Assoc. v. Gen. Elec. Co., 686 F.2d 66, 71
  23    (1st Cir. 1982).   As fully set forth in Sikorsky's Motion in Limine to Exclude
  24    Evidence Related to Plaintiffs' Failure to Warn Claim, Plaintiffs should not be
  25    permitted to re-litigate these facts over which there is no genuine dispute, and the
  26    jury should be instructed accordingly. (See ECF No. 233.)
  27    Ill
  28    Ill


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    1 III.    CONCLUSION
    2         For the foregoing reasons, Sikorsky respectfully requests a ruling that the
    3   following facts are established in the case pursuant to Rule 56(g):
    4         (1) Sgt Fontalvo had been instructed not to pull a landing gear safety
    5              pin if it resists.
    6         (2) Sgt Fontalvo knew it was dangerous to pull a resisting landing
    7              gear safety pin.
    8   Sikorsky further requests that the jury be instructed during the course of the trial
    9   that the above findings have been made by the Court, and that the jury instruction
   10   proposed by Sikorsky entitled "Judicial Finding" be adopted by the Court.
   11
   12   Dated: May 4, 2018                     FITZPATRICK& HUNT,
                                               PAGANO,AUBERT, LLP
   13
   14
   15                                      By: /s/ Christopher S. Hickey
                                              James W. Hunt
   16                                         Christopher S. Hickey
   17                                         Attorneys for Defendants
                                              Sikorsky Aircraft Corporation and
   18
                                              United Technologies Corporation
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  1                                      CERTIFICATE OF SERVICE

  2                         D. F., et al. v. Sikorsky Aircraft Corporation, et al.
                          USDC - Southern Court Case No.: 13-cv-0331-GPC-KSC
  3                                          Our File No.: 600,191
  4          I am employed in the County of Los Angeles, State of California. I am over the age of 18
      and not a party to the within action; my business address is 633 West Fifth Street, 60 th Floor, Los
  5   Angeles, California 90071 .
  6           On May 7, 2018, I served the document described as SIKORSKY'S MEMORANDUM
  7   OF POINTS AND AUTHORITIES IN SUPPORT OF REQUEST THAT CERTAIN FACTS
      BE DEEMED ESTABLISHED PURSUANT TO RULE 56(g) on the interested party(s) in this
  8   action, as follows :

  9                                   SEE ATTACHED SERVICE LIST
 10         (By U.S. Mail) By placing _ the original / _ a true copy thereof enclosed in a sealed
            envelope(s), with postage fully paid, addressed as per the attached service list, for collection
 11         and mailing at Fitzpatrick & Hunt, Pagano, Aubert, LLP in Los Angeles, California
            following ordinary business practices. I am readily familiar with the firm's practice of
 12         collection and processing correspondence for mailing. Under that practice it would be
            deposited with U.S. postal service on that same day with postage thereon fully prepaid at Los
 13         Angeles, California in the ordinary course of business. I am aware that on motion of the
 14         party served, service is presumed invalid if postal cancellation date or postage meter date is
            more than one day after the date of deposit for mailing in affidavit.
 15
      ...x__ (ByCM/ECF System) I caused to be electronically filed a true and correct copy of the
 16         above-entitled document(s) with the Clerk of the Court using Case Management/Electronic
            Case Filing (CM/ECF), which will send notification that such filing is available for viewing
 17         and downloading to all counsel on record electronically as required by the Court on this
            matter, addressed as per the attached service list.
 18
            (By Electronic Mail) I served a true and correct copy of the above-entitled document(s) to
 19         the offices at the addressee(s) set forth on the attached service list via electronic mail on said
            day.
 20
             (By FedEx) I caused said envelope(s) to be sent via FedEx [Overnight] to the offices of the
 21          addressee(s) on the attached Service List.
 22
       X   (FEDERAL) I declare under penalty of perjury under the laws of the United States that I am
 23        employed in the office of a member of the bar of this court at whose direction the service is
           made.
 24
           Executed on May 7, 2018, at Los Angeles, California. - ,
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                                                   ........Espie Minassian
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  1                                     SERVICE LIST

  2                    D.F., et al. v. Sikorsky Aircraft Corporation, et al.
                     USDC- Southern Court Case No.: 13-cv-0331-GPC-KSC
  3                                     Our File No.: 600,191
  4   Attorney for Plaintiffs
  5   Lawrence P. Grassini
      Lars C. Johnson
  6   Marshall J. Shepardson
      Grassini, Wrinkle & Johnson
  7   20750 Ventura Boulevard, Suite 221
  8   Woodland Hills, CA 91364-6235
      Tel.: (818)348-1717/Fax: (818)348-7921
  9   Email: mshepardson@grassinilaw.com
             iioel@grassinilaw.com
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             mail@grassinilaw.com
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